      Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 1 of 18 PageID #:1                                                        @


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                                                               )            22w3024
                                                               )            Judge Bucklo
                                                               )            Mag. Judge Jantz
                                                               )            Random Assignment
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                                                                                                   RECEIVED
Defendant(s).
                                                               )
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                                                                                                   .'EH8Ut:,Ef#I8U*'
                            COMPLAINT OF EMPLOYMENT DISCRIMINATION

 l.   This is an action for employment discrimination.

 2.   The plaintiff is                     UOt                        ua                                                      of the

 county of                                                             inthestate      ,r +Ur nk
 3.   The defendant is

 street addre      ,,   i, 3             o.                        t*
 ,"ur,
         (g*&A p,un                       11   frfi#ff                         J L{inoi. tzw bl/o
 (Defendant's teleplrone           nurnber) (-UO -                  3q+ - O + i O
 4. The plaintiff sought employment                  or was employed by the defendant at (street address)

        tom^on,BW* Sn.,.l.*                                    O,                       rcurt     Kcxlr&rtl
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5.       The plaintiff lcheck one box)

         (a) tr              was denied employment by the defendant.

         (b) tr              was hired and is      still ernployed by the defendant.

         (c) d               was employed but is no longer employed by the defendant.

6.       The defendant discriminated against the plaintiff on or about, or beginning on or about,
         (month)          Janoarrd            . tdayy     L           (year)   c2DI8
7.1       (Cltoose paragraph 7.1              or   7.2, do not complete both.)

         (a)        The defendant is nola federal governmental agency, and the plaintiff
                    lcheck one boxl Whas Ahas not filed a charge or charges against the defendant

                    asserting the acts of discrimination indicated in this complaint with any of the

                    fol   lowing government agencies:
                               /
                    (i)      E[the United States Equal Employment Opportunity Commission, on or about

                             (month;    5.:\\\)-              (day)       &l        (year)    2b4
                    (ii) E         the Illinois Depaftment of Human Rights, on or about

                             (month)                          (day)-                (year)-.
         (b)        If    charges were f:.led with an agency indicated above, a copy of the charge is

                    attached.      {y"r, E         No, but plaintiff will file a copy of the charge within l4 days.


         It is the policy of both the Equal Ernployment Opportunity Cornmission and the Illinors

         Department of Human Rights to cross-file with the other agency all charges receivcd. The

         plaintiff has no reason to believe that this policy was not followed in this                            case.




7.2      Thc defendant is a federal governmental agcncy, and

         (a)             the plaintiff previously filed a Complaint of Employrnent Discrimination with the

             flf you need additional space for ANY section, please attach an additional sheet and reference that section.l

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               defendant asserting the acts of discrimination indicated in this court complaint.

                               d./ v", (month) Tu l-q                             (d"9   ,al         (year)    )oe-l
                               E     No, did not file Complaint of Employment Discrimination

               (b)             The plaintiff received a Final Agency Decision on                    (month)iIon"c%-
                               @afi       &n           (year)    A-DaA
               (c)             Attached is a copy of the

                               (i)   Complaint of Employment Discrimination,

                                     N/yes E            No, but a copy will be filed within 14 days.

                               (ii) Final Agency Decision

                                     {"",          E    N0, but a copy will be filed within 14 days.


     8.        (Complete paragraph 8 only if dekndant is not a federal governmental agency.)

               (a)      tr           the United States Equal Employment Opportunity Commission has not

                                     issued a Notice of Right to Sue.
                      /
               tUt /tne              Unitcd States Equal Employment Opportunity Commission has issued

                                     a   Notice of Riqht to Sue, which was received by the plaintiff on

                                     (month;
                                               ---.o
                                                Ja.niro,",4 @ai &?                         (year) &.Dcr?2 a copy of which

                                     Notice is attached to this complaint.


     9.        The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

               those that applyl:

               (a) tr           Age (Age Discrimination Employnent Act).
                     /
               (b) El' Color (Title VII of the Civil Rights                       Act of 1964 and 42 U.S.C. $1981).



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         Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 4 of 18 PageID #:4


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           (c) tr           Disability (Americans with Disabilities Act or Rehabilitation Act)

           (d) fl           National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $ l98l ).

           (e) /Ru..              (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

           (0 tr            Religion (Title VII of the Civil Rights Act of 1964)

           (e) E            Sex (Title   VII of the Civil Rights Act of           1964)



10.         If the defendant is a state, county, municipal (city, town or village) or other local

           governmental agency, plaintiff further alleges discrirnination on the basis of race, color, or

           national origin (42 U.S.C. $ 1983).


I   l.     Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII

           claims by 28 U.S.C.$ 133              l,   28 U.S.C.$ 1343(aX3), and 42 U.S.C.$2000e-5(0(3); for 42

           U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the ADA by 42 U.S.C.$12117; for the

           Rehabilitation Act, 29 U.S.C. $ 791; and for the ADEA, 29 U.S.C. $ 626(c).


12.        The defendantlcheck only those that applyl
           (a)    tr     failed to hire the plaintiff.

           $l {terninated the plaintiff s employment.
           @)     {farcd         to promote the plaintiff.

           (d)    tr     failed to reasonably accommodate the plaintiff s religion.

           (e)    tr     failed to reasonably accommodate the plaintiff s disabilities.
                       ,/
           \f) V         failed to stop harassmcnt,

           retfi1g];stsgBgiHsul,',qHililff"h"fii$i?"'lg8ift'q"#$t%'smi,'J,ingtoassertrights

           (h)    tr     other (specify):


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 13.       Thc facts supporting the plaintiff s claim of discrimination are as follows:

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             sr.hd.:    ( no fQe,vo\ rr*l b{+'tl* giiyf uSrJttau't a-hoc>-ts- cc.rLatd


          raci ol ot\d abosivc c)ienls . ConS ",ro(t4 ,,,ado- racist                                            cc-rvo7/<--e 4-g6at

          ttt- Colt>rof m.q sKrn and mc rael-,

14.        IAGE DISCRIMINATION ONLY Defendant knowingly, intentionally, arrd willfully
           discriminated against the plaintiff.

15.        The plaintiff demands that the case be tried by                   a   jury.   E    Yes   E    No

16.        THEREFORE, the plaintiff asks tlrat the court grant thc following relief to thc plaintiff
           lcheck only those that applyf

           (a) E             Direct the defendant to hire the plaintiff.

           (b) E             Direct the defendant to re-employ the plaintiff.

           (c) E             Direct the defendant to promote the plaintiff.

           (d) tr            Direct the defendant to reasonably accommodate the plaintiff s religion.

           (e) E            Direct the defendant to reasonably accommodate the plaintiff s disabilities.

          (0            ilOir""tthc       dcfcndant to (specify):




                                  tional space for ANY section, please attach an additional sheet and              that section.l

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      Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 6 of 18 PageID #:6


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          (e)                  If available, grant the plaintiff appropriate injunctive relief, lost wages,
                               liquidated/double damages, front pay, compensatory damages, punitive
                               damages, prejudgment interest, post-judgment interest, and costs, including
                               rpasonable attorney fees and expert witness fees.

          (h)             d     Grun such other relief as the Court may find appropriate.




          (Plainti             signature)




             /b/htOh.-l,'                               tt(,
          (Plaintiff          s street address)


                                                                     Dl
          (City)                                        (State)   'J]--           ern bt161

          (Plaintiff s telephone number)                 6lq - (*8 - / OSa

                                                                                      Date:      Juns- gl 2D 2-'a-,




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 EEOC Form 16'l (1112020),                 U.S. EQUAL       Enlt   ployu   erur OppoRru rury        G   ortrutsstoN

                                                   DtsrvlssaL AND Nonce oF RTGHTS
To:     Sequoia Stewart                                                                  From: Chicago District Office
        1616 1Oth Avenue                                            oiln ,r,., -
                                                                    {-;l                          230S.Dearborn
        Rockford, lL 61104                                               Jr- . -ii     Fii S: l+grite raos
                                                                                                  Chicago, lL 60604


      E                       On behatf of person(s) aggrieved whose identity is
                              CONFIDENTIAL (29 CFR $1601.7(a))
 EEOC Charge No.                                  EEOC Representative                                                 Telephone No.

                                                  Katarzyna Hammond,
 440-2021-03807                                   lnvestigator                                                        (312!'872-9703
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      tl           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


      E            Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


      fl           The Respondent employs less than the required number of employees or is not othenvise covered by the statutes.


      E            Your charge was not timely filed with EEOC; in other words, you waited too long afler the date(s) of the alleged
                   discrimination to file your charge

      E            The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                   determination about whether further investigation would establish violations of the statute. This does not mean the claims
                   have no merit. This determination does not ce(ify that the respondent is in compliance with the statutes. The EEOC
                   makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

      E            The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


      r            Other (briefly state)

                                                           . NOTICE OF SUIT RIGHTS.
                                                     (See the additional information aftached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.

                                                                        On behalf of the Commission


                                            J wLia,n np             B   ow   vn    a,n/ elv                           112712022
Enclosures(s)                                                                                                               (Date lssued)
                                                                     Julianne Bowman,
                                                                      District Director
cc:


            Community Care Systems, lnc.
            Ginger Leaven
            Associate General Counsel
            '17475 JOVANNA DR., Suite 2A
            Homewood, lL 60430
             Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 8 of 18 PageID #:8
Enclosure with EEOC
Form 161 (1112020\
                                              lnroRmenoru Reuareo ro FrlrNc Sutr
                                           UruoeR rue Lews ENronceo BY THE EEOC

                               (This information relates to filing suit in Federal or State couft under Federal law.
                      lf you also plan to sue claiming violations of Slafe law, please be aware that time limits and other
                             provisions of Slafe law may be shorter or more limited than those described below.)



pRrvere surr          R,cxrs      -.   il:"":lH:i;,:lH,"t'#li*i1;T,f,*r,",iiT[:,i31_T,,3;'lI:"d:'(ADA)'
                                        Discrimination in Employment Act (ADEA):

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90davsof thedateyou receivethisNotice. Therefore,youshouldkeeparecordof thisdate. Oncethis90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civiltrial court.) Whether you file in Federalor State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. lf you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRtvere Sutr          Rlcxrs --        Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 vears (3 vears) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 711108 lo 1211108, you should file suit
before 711110 - not 1211l10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vll, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vll, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within g0 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ArtoRuev RepReseutATroN Title Vll, the ADA or GINA:
lf you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC                   ASSISTANcE          .    AlI Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. lf you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SIJIT, PLEASE sEIvD A coPY oF YoUR coURT gaMPLAINT To THII oFFIcE.
          Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 9 of 18 PageID #:9



People that have witnessed the racism towards me from Community Care Systems lnc.

From: leigh_s'1019@yahoo.com (leigh_s1019@yahoo.com)
To:    katarzyna.hammond@eeoc.gov

Date: Wednesday, December 22,2021,01:24 PM CST


1.) Nicole Houston (901) 239-2114
2.) Myiesha Rush (312) 810-1769
3.) Geraldine Conklin (608) 622-2931
                       Case: 1:22-cv-03024 Document #: 1 Filed: 06/08/22 Page 10 of 18 PageID #:10
 618122, 11:57 AM                                        (1,410 unread) - leigh_s1019@yahoo.com   - Yahoo Mail




      EEOC's Notice of a Right               to Sue per request

      Frorn, KATARZYNA HAMMOND (katarzyna.hammond@eeoc.gov)
      To:            leigh_s1019@yahoo.com

      D;rtr:. Thursday, March 10,2022,01:01 PM CST


      Ms. Stewart,



      Per your voice mail, please find attached the Notice of a Right to Sue.



      Please confirm the receipt. You have g0 days to sue the employer in federal court from the date when you receive the
      Notice, so once you receive and open this e-mail.



      Thank you.



      Kasia Hammond

     Federal lnvestigator
     Equal Employment Opportunity Commission

     JCK Federal Building
     230 South Dearborn St., Suite 1866,

     Chicago, lL 60604
     Ph 312-872-9703
     Fax:   31   2-588-1 260

     E-mail: katarzyna.[ernllend-@eeoc.gov




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      Charge 440-2021-03807

      Frorn leigh_s1019@yahoo.com
      l"cr:   katarzyna.hammond @eeoc.com

      Date: Saturday, November 27,2021,04:58 PM CST


      Hello my name is Sequoia Stewart and the charge number is 440-2021-03807. On November
      16,2021 I asked lrma Martinez an office employee who works for Community Care Systems lnc. inside the Help at Hom
      e office for more hours again because my hours are low because the Community Care office staff hasn't given me anym
      ore clients? lrma replied I dont know. I replied how long am I going to be in limbo because I have
      low hours. lrma replied I dont know then she started laughing and said I will call you back. I asked lrma for fill in hours
      also known as substitute hours. lrma responded I cant do nothing I will call you back. I have been asking for more hours
      all year long and the Community Care office employees have all continued to refuse to give me more hours.




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     Charge 440-2021-03807

     Frr:m leigh_s1019@yahoo.com
     1o.      katarzyna.hammond@eeoc.gov

     Datt':   Wednesday, December 1, 2021, 1 1:53 AM CST



     Hello my name is Sequoia Stewart and the charge number is 440-2021-03807. On November
     16,2021 I asked lrma Martinez an office employee who works for Community Care Systems lnc. inside the Help at Hom
     e office for more hours again because my hours are low because the Community Care office staff hasn't given me anym
     ore clients? lrma replied I dont know. I replied how long am I going to be in limbo because I have
     low hours. lrma replied I dont know then she started laughing and said I will call you back. I asked lrma for fill in hours
     also known as substitute hours. lrma responded I cant do nothing I will call you back. I have been asking for more hours
     allyear long and the Community Care office employees have all continued to refuse to give me more hours. Community
     Care Systems lnc. Rockford office has continued to hire at least three white people since the 2021 summer. A new
     caregiver that was recently hired named Amber who is a substitute worker who is guaranteed 40 hours of work and fill
     ins for many clients who do not have a permanent caregiver's. The clients are not recieving help, nearly all of their
     monthly allotted hours are not being serviced and I have continually asked for more clients and more hours on a daily
     and weekly basis. ln the summer and fall of 2021 I have seen the Community Care Systems lnc. Rockford office
     conducting interviews and white people sitting in the office waiting to be called for their interview and then the
     Community Care Systems lnc. office employees calling their name to come start the interviews.




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       Charge 440-2021-03807

       I   rnrrr   leiqh_s1019@yahoo.com

       kr          katarzyna"harnmond(Oeeoc.gov

       Dato        Tuesday, December 7, 2021,03:24 PM        CS   I


       Hello my name is Sequoia Stewart and the charge number is 440-2021-
       03807. A Community Care Systems lnc. office employee called my client Gloria from a 217-606-
       1184 number. A cell phone number used by the Community Care Rockford office that the supervisor has used to call me
      from in the past. The Community Care Systems lnc. office employee asked Gloria how many times I have been late? W
       hat do I do while at Gloria's apartment? Have I asked Gloria for any money? Gloria said no. The office employee on the
      phone said well we have to ask questions like this. Another question was do I clock in for Gloria while Gloria is not home
      ? Gloria said no. Another question was do I change my time? Gloria said no. The only time she goes over her time is wh
      en I am at the doctor's office
      and the appointment takes longer or my doctors appointment is at a later time. Another question was do I talk to Gloria
      about other clients? Gloria said no. This is the thircj phone call to my client Gloria in the last 8 days asking well over 30 q
      uestions total about me. However Community Care Systems lnc. office employees have not called me about adding any
      more clients to my schedule. For over a year I have been asking for more clients and Community Care Systems lnc" offi
      ce employees have refused to give me more clients. However the Community Care Systems lnc. office employees Jessi
      ca Ortiz, Donna, lrene, lrma Martinez and other office employees have been using their office work time to continually ca
      ll my clients asking several questions about me, gossiping to the Help at Home office employees about me, saying nega
      tive things about me to my clients, and creating an unhealthy and toxic work environment for me. I have a wor[ phone th
      at shows my location when I clock in for a client and when I clock out for a client. The work phone belongs to Community
       Care Systems lnc. The work phone shows a time stamp showing the hour, minute, and second when I clock in ancl whe
      n I clock out also showing the location where I am when I clock in and clock out. My clock in times, clock out times, ancl I
      ocation can be seen anytime on the EVV System that can be seen easily on the computer's that Jessica Ortiz, Donna, lr
      ma Martinez, and lrene use.




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          11                                                           leigh_s1019@yahoo.com   Yahoo Mail




      Charge 440-2021-03807

                   leigh_s1 01 9@yahoo.corn (leigh_s101 9@yahoo.com)

                  katarzyna.hammond @eeoc.gov

                  Monday, December 6, 2A21,02.52 PM    CST




     Jessica Ortiz an office employee who works for Community Care Systems lnc. inside the Help at Home office has contin
      ued to prevent me fronr getting more clients and more hours. I have continued to ask for more clients and more hours fo
      r over a year. I have asked Jessica does she have any clients who need service and she will reply no. I have asked Jess
     ica are there any clients that have not had any service this week or last week and Jessica will reply no. I have asked Jes
     sica are there any clients on the re staff list and Jessica will reply no. Other office employees have asked Jessica does s
     he have any clients that need service and Jessica says yes then I service the clients then the clients call the Community
       Care Systems lnc. Rockford office and ask for me to be their caregiver. Jessica will say who is the caregiver then the cli
     ent says my name then Jessica will say she will have to see if she has room on her schedule. Then the client will say we
     ll she told me that she has lots of openings on her schedule. Then Jessica will tell the client, uh I have to get back with y
     ou, I will call you back. After, the clients will never be added on to my schedule. After that when an office employee asks
     Jessica does she have hours Jessica will say yes then ask who is on the phone and they tell Jessica then Jessica will s
     ay no I dont have anything or I will call her back. Jessica does not call me back about getting more hours. I have contact
     ed the SEIU Union and the SEIU Union Representative about these issues and the union representative sometimes rJoe
     s not recieve a response from Community Care Systems lnc. for weeks. On November 29.2021 Jessica Ortiz callecl my
       client Gloria and said so she hasn't been showing up for work l-recause I have been looking at the system and she hasn'
     t had any clock in and clock outs for you at all for over a week. So this is what she does. Gloria replied I have been out o
     f town for the Holiday and she cannot provide service to me with me being out of town. Gloria replied I have callecJ you t
     wo weeks ago and told you all and I called the week before last the day lwas leaving. Then Gloria's Case Manager calle
     d Gloria and asked Gloria over 20 questions about me like what do I do, has Gloria been getting service. do I get along
     with Gloria and etc. Gloria replied she is a good worker she goes to the grocery store for me and carries all the groceries
       up all the flights of stairs for me, she cleans all of my closets out, organizing everything in my apartment. she does ever
     ything for me. I have never missed a day and never called off servicing Gloria. lrma Martinez and Jessica Orliz took Glor
     ia's hours away from me and gave them to Darwin a white employee so thal he could take Gloria to the doctor instead of
       me and I had open availability that day from 7am until 3pm and Gloria's doctor appointment was at 9:15am.




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      Charge 440-2021-03807

      Frorn: leigh_s1019@yahoo.com (leigh_s1019@yahoo.com)
      To:     katarzyna.hammond@eeoc.gov

      Date    Thursday, October 21, 2021,02:25 PM CDT



      Hello my name is Sequoia Stewart and yesterday I called my employer Community Care Systems lnc and I spoke with lr
      ma M. one of the Supervisor/ Coordinator working in the office. My telephone was on speaker
      and I informed lrma that my client Gloria had a doctor's appointment on October 21,2021 at 9:15am . lrma said that I co
      uld not take my client Gloria to her doctor's appointment and that another employee a white male Darwin will take my cli
      ent to the doctor's appointment instead. My client Gloria has been on my schedule for over a month. lrma told Gloria that
       Darwin would have to take my Friday hours that I was scheduled to go to Gloria away from me and also a part of the Oc
      tober 20, 2021 hours away from me in order for him to have enough time to take the client Gloria to her doctors appoint
      ment and that Darwin will arrive at 9am to pick Gloria up on October 21,2021. My schedule is open on Thursdays from
      7am until
      8pm. I only have 1 client on Thursday October 21 ,2021 that is on my schedule now starting at 3:45pm until 6:1Spm. So i
      nstead of letting me take my client that is on my schedule to the doctor lrma
      instead took my hours away from me and gave them to a white male employee Danrrin who does not have Gloria on his
      schedule. I am available to take the client Gloria to her doctor appointments. The employees who work in the CCSI
      office have taken away my hours for no reason and gave them to other white employees many times in the past. Most
      recently August 10,2021.




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                                                             (1,4'10 unread) - leigh_s1019@yahoo.com   - Yahoo Mail




      Charge 440-2021-03807

      Frr:rrr leigh_s1019@yahoo.com
       Io          katarzyna.hamrnond@eeoc.gov

      l   );t\t'   Friday, November 26, 2021,01:33 PM CST



      Hello my name is Sequoia Stewart and my charge number is 440-2021-
      03807. Donna and Jessica Ortiz who are office employees who work for Community Care Systems lnc. have called my
      clients every 2 weeks asking if the clients want another caregiver. All of the clients have said no they do not want anothe
      r caregiver. All the clients have said that they would like to keep me as their caregiver. The Community Care Systems ln
      c. office employee Donna called my client Douglas and asked him what do I do then the client Douglas told them. Donna
       asked Douglas has he had any problems with me? Douglas replied I haven't had any problems with her at all she does
      a good job. Donna asked Douglas does he want another caregiver? Douglas replied no. Donna said well we have so ma
      ny other caregivers that can be sent out to help you. Douglas replied to Donna saying no I dont want any other caregiver
       being sent out to me, Sequoia is one of the best ones. Then Donna saicl ok hrye. The Community Care Systems lnc. offi
      ce employee Jessica Ortiz called my client Gloria and asked Gloria
      does Gloria have a problem with me showing up late all the time. Gloria saicl she has not been late only 1 time. Jessica
      asked Gloria does she want another caregiver Gloria said no. Jessica asked Gloria well are you sure? Gloria replied I a
      m sure, she is a good worker she does a good job cleaning up for me. Then Gloria asked Jessica why haven't yclu been
      returning my calls for the last month? Jessica replied that she has been busy. On November gth,2OZ1 one of the Comm
      unity Care Systems lnc. office employees called my client Darrell asking him does he want another caregiver? Darrell re
      plied no. Darrell was asked does have any problems with me? Darrell replied no. Darrell was asked does he feels safe a
      round me? Darrell replied yes. Darrell was asked are yoLr satisfied with her? Darrell replied yes. Darrell was asked are y
      ou sure you're alright with her? Darrell replied yes. So when I came to work for my client Darrell on November j1,2O21
      Darrell asked me have I been to jail before? I replied no. Darrell said so you've never been to jail before? I replied no. D
      arrell said well your boss keeps calling me all the time asking me do I want another caregiver. Jessica and Donna contin
      ue to cause problems and an unhealthy work environment for me.




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Charge 440-2021-03807

Fronr leigh_s1019@yahoo.com (leigh_s1019@yahoo.com)
Tr:l     katarzyna.hammond@eeoc.com

D;lIe:   Friday, November 26,2021,01:46 PM CST



Hello my name is Sequoia Stewart and the charge number is 440-2021-03807. On November 24,2021Jessica Ortiz
who is an office employee who works for Community Care Systems lnc inside the Help at Home office called my client
Douglas and asked him if he wanted another caregiver? Douglas said no. I want to keep Sequoia. Then Jessica asked
the client Douglas does he want to change his hours he said no. Then Jessica told the client Douglas that if he wanted
another caregiver then to call the office and he can get another caregiver. Jessica Ortiz and Donna who work are both
Community Care Systems lnc. office employees inside the Help at Home office have been calling my clients on a weekly
basis asking them if they want another caregiver. There are I think around 1,000 Community Care Systems lnc
caregivers in the Rockford area and Jessica and Donna are not calling every client for the other g98 caregivers. There is
not enough time Monday through Friday to call all the clients for the other 998 caregiver's. Jessica Ortiz, Donna, and
lrma Martinez who are alloffice employees who work at Community Care Systems lnc. have continued to discriminate
against me because of my race.
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EEOC's Notice             of a Right to Sue per request

F:rorn. KATARZYNA HAMMOND (katarzyna.hammond@eeoc.qov)

lb:         leigh_s1019@yahoo.com

Date: Thursday, March 10,2022,01:01 PM CST


Ms. Stewart,



Per your voice mail, please find attached the Notice of a Right to Sue.



Please confirm the receipt. You have g0 days to sue the employer in federal court from the date when you receive the
Notice, so once you receive and open this e-mail.



Thank you.



Kasia Hammond

Federal lnvestigator
Equal Employment Opportunity Commission

JCK Federal Building
230 South Dearborn St,, Suite 1866,

Chicago, lL 60604
Ph:312-872-9703
Fax:   31   2-588-1 260

E-mail: katarzylg.[411qnd_@eeoc.gov




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